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                          LIMITED AVAILABILITY




                                                                            NAPERVILLE,
                                                                             ILLINOIS



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                                                                                                 DEF 000311
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                                                                                              Neuragenex | Naperville, IL



                                                                                       LIMITED AVAILABILITY
Property Information
Tenant                  Neuragenex
Location                2975 Showplace Drive, Naperville, IL 60564                                      NEURAGENEX
Property Type           Freestanding, Medical
Building Size           3,500 Square Feet
Purchase Price          $7,002,492
Cap Rate                6.50%


Neuragenex stands as the nation’s most rapidly growing healthcare           Lease Information
brand and platform, poised to expand from its current 15 operating          Lease Guarantor       Personal; President, Founder, CEO
locations to an impressive 56 within the next year. Founded by
medical professionals, Neuragenex Treatment Centers was                     Initial Lease Term    20 years
established to provide patients with access to pain relief without          Rent Increases        2% increases every year
surgery, drugs or invasive treatments through high pulse external           Renewal Options       Three 5-year options
electrical stimulation and specialized hydration therapy.

Naperville, IL                                                               Year         Cap Rate
                                                                             1            6.50%
Naperville Crossings is situated at the Northwest Corner of Route 59
and 95th Street in the heart of South Naperville’s retail corridor. Lot      2            6.63%
sits as an outparcel to AMC Showplace 16 which boasts over                   3            6.76%
750,000 visitors per year. Tapestry of Naperville, a 300-unit residential
project, is adjacent to center. There is ample parking available and         4            6.90%
multiple points of access via Route 59 or 95th Street.
                                                                             5            7.04%

About Tenant In Common                                                       6            7.18%

                                                                             7            7.32%
Tenant in common or TIC ownership allows two or more people to
hold an ownership interest in a property. Each property owner or             8            7.47%
business entity holds its own separate stake in the property and             9            7.62%
receives a deed.Their interests do not have to be equal.
                                                                             10           7.77%
This Millcreek Commercial property has the following
                                                                             11           7.92%
characteristics:
                                                                             12           8.08%
• Property is offered debt-free
• Long-term, corporate-guaranteed lease                                      13           8.24%
• Satisfies IRS requirements for 1031 exchanges                              14           8.41%

                                                                             15           8.58%

                                                                             16           8.75%

                                                                             17           8.92%

                                                                             18           9.10%

                                                                             19           9.28%

                                                                             20           9.47%
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        MILLCREEK                                                                Neuragenex | Naperville, IL
        COMMERCIAL




             NEURAGENEX
               TREATMENT CENTERS                                                                  h




Neuragenex Company Overview
Neuragenex stands as the nation’s most rapidly growing healthcare brand and platform, poised to expand from its
current 15 operating locations to an impressive 56 within the next year. Founded by medical professionals,
Neuragenex Treatment Centers was established with the sole purpose of providing patients access to pain relief
without resorting to surgery, pharmaceuticals, or invasive procedures. Remarkably, an astounding 90% of
Neuragenex clients experience a substantial 50% reduction in pain after just a single round of treatment.

Neuragenex consists of four primary avenues of care:

Neuragenex Treatment Centers: Non-opioid non-surgical pain treatment through external electrical stimulation
and specialized hydration therapy.

Neuragenex Comprehensive Care: Functional medical care for chronic metabolic conditions, behavioral health,
and multiple categories of functional integrated healthcare.

Neuragenex Musculoskeletal: Advanced FDA approved regenerative medicine treatments and procedures that
bring advanced non-surgical treatments to mainstream medical care.

Neuragenex Dental and Aesthetics: Cosmetic and general dental program that crosses the divide between dental
and aesthetic by offering traditional aesthetic procedures, advanced liposuction techniques, and patented
therapies.

Neuragenex is at the forefront of pain treatment, delivering highly effective therapies and protocols that not only
alleviate pain but also target the root metabolic conditions responsible for chronic discomfort. Neuragenex
introduces the first-ever nationwide network of dual-purpose dental and aesthetic offices, elevating the industry




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standard to new heights.




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                                                                                                  RESEARCH-BASED
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                                                                                          Neuragenex | Naperville, IL




Naperville, IL
Located 28 miles west of Chicago, Naperville, IL consistently ranks as a top community in the nation in which to live, raise children,
and retire. This vibrant, thriving city is home to acclaimed public and parochial schools, the best public library system in the country,
world-class parks, diverse worship options, an array of healthcare options, and an exceptionally low crime rate. Naperville has ready
access to a variety of public transportation, housing, and employment options. The city’s diversified employer base features high
technology firms, retailers and factories, as well as small and home-based businesses. With all the amenities of a modern city and all
the charm of a small town, Naperville truly is the premiere community in which to live, work, and play.




       •    The current population estimate is 149,936                          •   Owner Occupied: 75.4%
       •    Median Age: 35 years                                                •   Renter Occupied: 24.6%
       •    Median Household Income is $115,103                                 •   Median Home Price: $625,000
       •    Total Households: 53,408                                            •   Median Rental Rate: $1,807




In just half a century, the City of Naperville has grown from a prairie town of fewer than 10,000 people to a bustling city of 150,000
residents that is home to everything from family businesses, a scenic riverwalk to international corporations, and regional
transportation networks.




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                                                                        Neuragenex | Naperville, IL



       Lease Abstract

       Tenant                                  Neuragenex

       Guarantor                               Personal; President, Founder, CEO

       Address                                 2975 Showplace Drive, Naperville, IL 60564

       Building Size (SF)                      3,500 SF
       Year Built                              2020

       Rent Commencement                       September 2023

       Lease/Rent Expiration                   2043

       Lease Term Remaining                    20 Years
       Annual Base Rent                        $464,451

       Rental Increases                        2% annually
       Renewal Options                         Two five-year options
       Renewal Notice                          6 months
       Option Increases                        Yes
       Lease Type                              Absolute NNN

       Landlord Responsibilities               Zero
       Insurance/Taxes/CAM/Utilities           Tenant
       ROFO                                    No
       Estoppel                                As needed
       Ownership Interest                      TIC fee simple estate




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